Case 18-23027-MBK         Doc 43       Filed 10/23/20 Entered 10/23/20 12:46:40                Desc Main
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                     United States Bankruptcy Court
                     _______________ District Of _______________
                                                 NEW JERSEY

       Mohamed Mohamed                                  18-23027




     Community Loan Servicing, LLC                       Bayview Loan Servicing, LLC



                                                                                       16-1
                                                                                $144,096.67
     Community Loan Servicing, LLC                                              9/6/2018
     4425 Ponce De Leon Blvd., 5th Floor
     Coral Gable, FL 33146

          800-771-0299                                             800-771-0299
                              0103                                                      0103




     Community Loan Servicing, LLC
     Attn: Cashiering Dept.
     4425 Ponce De Leon Blvd., 5th Floor
     Coral Gable, FL 33146
           800-771-0299
                               0103




                                                                   10/22/2020
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                                               Delaware                                         Page 1

                                                           The First State



                 I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

        DELAWARE, DO HEREBY CERTIFY THE ATTACHED IS A TRUE AND CORRECT

        COPY OF THE CERTIFICATE OF AMENDMENT OF “BAYVIEW LOAN

        SERVICING, LLC”, CHANGING ITS NAME FROM "BAYVIEW LOAN

        SERVICING, LLC" TO "COMMUNITY LOAN SERVICING, LLC", FILED IN

        THIS OFFICE ON THE SIXTEENTH DAY OF SEPTEMBER, A.D. 2020, AT

        8:54 O`CLOCK A.M.

                 AND I DO HEREBY FURTHER CERTIFY THAT THE EFFECTIVE DATE OF

        THE AFORESAID CERTIFICATE OF AMENDMENT IS THE TWENTY-EIGHTH DAY

        OF SEPTEMBER, A.D. 2020.




                                                                                Authentication:
                                                                                            Date: 09-17-20
    You may verify this certificate online at corp.delaware.gov/authver.shtml
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